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                             UN ITED STA TES DISTRICT COU RT
                             SOUTH ERN D ISTRICT OF FLORIDA

                                 Case N o.18-20773-Cr-W illiam s

   UNITED STA TES O F AM ERICA ,


   VS.

   JEROM E A LLEN ,

                        Defendant.
                                       /

                                  O RD ER OF FO R FEITURE

         W H EREA S,on October3,2018,thedefendant,JERO M E A LLEN ,pleaded guilty to the

   lnformation(ECFNo.11inthiscauseand,aspartofhisPleaAgreement(ECFNo.101,agreedto
   theentryofaforfeituremoneyjudgmentagainstherfor$18,000(US);and
         W HEREAS,theUnited Stateshassubm ittedaproposedOrderofForfeitureretlectingthe

   entryofaforfeituremoneyjudgmentagainstthedefendantfor$l8,000(US);and
         W HEREAS,Fed.R.Crim.P.32.2(c)(1)providesthatûsnoancillaryproceedingisrequired
   totheextentthatforfeitureconsistsofamoneyjudgment,''
         NO W TH ER EFOR E,IT IS H EREBY O R DER ED ,ADJU DG ED A ND DECR EED

   thataforfeituremoneyjudgmentfOr$18,000(US)isenteredagainstthedefendantaspartofhis
   sentencepursuantto 18U.S.C.j982(a)(1)andFed.R.Crim.P.32.2(b)(1);and
         IT ISFURTHER ORDERED thattheUnitedStatesDistrictCourtshallretainjurisdiction
   in thism atterforthe purpose ofenforcing thisO rderofForfeiture;and

         IT IS FUR TH ER O RD ERED thatthe United States m ay, at any tim e,file a m otion

   pursuantto Fed.R.Crim.P.32.24e)to amend thisOrderofForfeiture so to asfodkitsubstitute
   property having avaluenotto exceedtheaggregatesum ofthe outstanding balance oftheforfeiture
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   moneyjudgmentimposedhereinin satisfaction oftheforfeituremoneyjudgmentinwholeorin
   part;and

         DONEANDORDEREDatMi
                          ami,Floridaonthis/-dayofApril2019.


                                              KATH LEE M .W ILLIA M S
                                              UNITED ATES D ISTRICT JUD GE
